Case 4:17-cv-03741 Document 101-2 Filed on 05/18/18 in TXSD_ Page 1 of 2

UNITED STATES
SECURITIES AND EXCHANGE COMMISSION
Washington, D.C, 20549

 

FORM 10-K

 

ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d)
OF THE SECURITIES EXCHANGE ACT OF 1934

For the fiscal year ended June 30, 2014

or

O TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d)
OF THE SECURITIES EXCHANGE ACT OF 1934

For the transition period from to

Commission file number: 001-33628 .

 

Energy XXI (Bermuda) Limited

(Exact name of registrant as specified in its charter)

 

Bermuda XX-XXXXXXX

(State or other jurisdiction of incorporation or organization) (I.R.S. Employer Identification No.)

Canon’s Court, 22 Victoria Street,
PO Box HM 1179,
Hamilton HM EX, Bermuda N/A
(Address of principal executive offices) (Zip Code)

Registrant’s telephone number, including area code: (441)-295-2244

 

Securities registered pursuant to Section 12(b) of the Act:

Title of each class Name of each exchange on which registered
Common Stock, par value $0.005 per share NASDAQ Global Select Market

Securities registered pursuant to Section 12(g) of the Act: None

 

Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes KI No 0
Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act, Yes 0 No

Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act
of 1934 during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject
to such filing requirements for the past 90 days. Yes kJ No 0

Indicate by check mark whether the registrant has submitted electronically and posted on its corporate Web site, if any, every Interactive Data
File required to be submitted and posted pursuant to Rule 405 of Regulation S-T (§232.405 of this chapter) during the preceding 12 months (or for

 
Case 4:17-cv-03741 Document 101-2 Filed on 05/18/18 in TXSD_ Page 2 of 2

TABLE OF CONTENTS

Item 6. Selected Financial Data

The selected consolidated financial data set forth below should be read in conjunction with Item 7 “Management’s Discussion
and Analysis of Financial Condition and Results of Operations” and with the consolidated financial statements and notes to those
consolidated financial statements included elsewhere in this Form 10-K.

Year Ended June 30,
2014 2013 2012 2011 2010
(in Thousands, Except per Share Amounts)
Income Statement Data

 

 

 

 

 

 

 

 

Revenues $ 1,230,725 $ 1,208,845 $ 1,303,403 $ 859,370 $ 498,931
Depreciation, Depletion and Amortization
(“DD&A”) 423,319 376,224 367,463 293,479 181,640
Operating Income 280,411 361,805 483,284 208,923 102,047
Other Income (Expense) — Net (164,211) (113,091) (108,811) (132,006) (58,483)
Net Income 59,111 162,081 335,827 64,655 27,320
Basic Earnings per Common Share $ 0.64.3 1.90 -$ A102 $ 0.42.°$ 0:56
Diluted Earnings per Common Share $ 0.64 $ 1.86 § 3.85 $ 0.42 $§ 0.56
Cash Flow Data
Provided by (Used in)
Operating Activities $ 545,460 .$. 638,148 --$ - 785,514 $387,725 $121,213
Investing Activities
Acquisitions (849,641) (161,164) (6,401) (1,012,262) (293,037).
Investment in properties (788,676) (816,105) (570,670) (281,233) (145,112)
Other 93,742 (16,734) 7,478 38,423 53,989
Total Investing Activities (1,544,575) (994,003) (569,593) (1,255,072) (384,160)
Financing Activities 1,144,921 238,768 (127,241) 881,530 188,246
Increase (Decrease) in Cash $ 145,806 $ (117,087) $ 88,680 $ 14,183 $ (74,701)
Dividends Paid per Average Common :
Share $ 048 $§ 0.33.8 0.07 — —
June 30,
2014 2013 2012 2011 2010
(In Thousands)
Balance Sheet Data
Total Assets $ 7,436,778 $ 3,611,711 $ 3,130,947 $ 2,798,860 $ 1,566,491
Long-term Debt Including Current
Maturities 3,759,644 1,370,045 1,018,344 1,113,387 774,600
Stockholders’ Equity 1,797,830 1,437,246 1,405,840 946,697 436,561
Common Shares Outstanding 93,720 76,486 78,838 76,203 50,637

47

 

 
